AmphsW dls; sgy-08388-AB-FFM Document 325] Filed 05/24/21 Page 1of1 Page ID #:7829
Wells Law Office, Inc.

201 N. Garland Ct., 2908
Chicago, IL 60601

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

OMAR VARGAS, individually, and on behalf of a class, CASE NUMBER

 

2:2012-CV-08388 AB (FFMX)
Plaintiff(s)

 

Vv.
FORD MOTOR COMPANY (PROPOSED) ORDER ON AMENDED
APPLICATION OF NON-RESIDENT
Defendant(s). ATTORNEY TO APPEAR

 

 

The Court, having determined whether the required fee has been paid, and having reviewed the
Application of Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by

 

 

 

 

 

 

Wells, Amy L. of [Wells Law Office, Inc.
Applicant's Name (Last Name, First Name & Middle Initial) 201 N. Garland Ct.. 2908
773-762-9104 Chicago, IL 60601
Telephone Number Fax Number
amywells@equaljusticelaw.com

E-Mail Address Firm/Agency Name & Address

 

for permission to appear and participate in this case on behalf of
Opt-outs and those pursuing repurchase in accordance with the terms of the class action settlement in Vargas.

 

 

 

 

 

 

 

 

 

 

Name(s) of Party( ies) Represented | Plaintiff(s) |_| Defendant(s) Other: Opt-outs
and designating as Local Counsel
Resnick, Allen-Michel D. of
Designee’s Name (Last Name, First Name & Middle Initial) CONSUMER Building REMEDIES, APC
245215 833-428-9222 213-210-2196 331 North Beverly Drive, Suite 2
Designee’s Cal. Bar No. Telephone Number Fax Number Beverly Hills, CA 90210-4715
mresnick@clrattorney.com
E-Mail Address Firm/Agency Name & Address
HEREBY ORDERS THAT the Application be:
IX} GRANTED.

| DENIED: [|] for failure to pay the required fee.
|_| for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
[_] for failure to complete Application:
[| pursuant to L.R. 83-2.1.3.2: |] Applicant resides in California; ["| previous Applications listed indicate Applicant
is regularly employed or engaged in business, professional, or other similar activities in California.
[_] pursuant to L.R. 83-2.1.3.4; Local Counsel: [7] is not member of Bar of this Court; |_| does not maintain office in District.

 

|__| because

IT IS HEREBY FURTHER ORDERED THAT the Application f€2, if pg i (_] not be refunded.
Dated May 24, 2021

U.S. District Judge/U.S. Magistrate Judge

G—64 ORDER (5/16) (PROPOSED) ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE Page 1 of 1

 

 

 

 
